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              Exhibit E
 Case 2:24-cv-01129-RJC       Document
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 1          IN THE UNITED STATES DISTRICT COURT
 2        FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 3      * * * * * * * * * * * * * * *
 4     HORACE CLAIBORNE, SONJIA MONIQUE BOWLIN,
       TYSHAWN WALKER, DEZRAE KAUHANE, WILLIE SEALS,
 5     FREDERICK EPPICH, JEROME SCHOOLFIELD, KRISTINA
       TRAVIS, JEREMY WINKELS, DANIEL FORRESTER, MARK
 6     DAVID GRIFFETH, DOUGLAS RUSSELL, KENNETH
       BURTON, GERALD GENSOLI, and THOMAS DEPPIESSE,
 7     on behalf of themselves and others similarly
       situated,
 8
                    Plaintiffs,
 9
            vs.                     Case No. 2:18-cv-01698-RJC
10
       FEDEX GROUND PACKAGE SYSTEM, INC.,
11
                    Defendant.
12
        *   *   *   *     *     *   *   *   *   *   *   *   *   *   *
13
14
15   REMOTE VIDEOTAPED DEPOSITION OF THOMAS DEPPIESSE
16
                        January 24, 2022
17                   8:43 a.m. to 2:28 p.m.
18                REPORTED BY ANITA KORNBURGER
                REGISTERED PROFESSIONAL REPORTER
19
20
21
        *   *   *   *     *     *   *   *   *   *   *   *   *   *   *
22
23
24
25



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 1   to your relationship with Wild Bill's besides the
 2   two e-mail accounts that you told me about?
 3          A.    Nowhere else that I can think of.
 4          Q.    Do you keep any paper files?
 5          A.    No.     The only paper files I keep are for
 6   tax purposes.
 7          Q.    Do you have any text messages to or from
 8   Wild Bill's?
 9          A.    No, not anymore.
10          Q.    What about voicemails?
11          A.    No, they're all gone.         I don't think I
12   had any voicemails anyway from them.
13          Q.    What makes you think that you have more
14   payroll documents than what you provided?
15          A.    What makes me think?
16          Q.    Yes.
17          A.    Because I did a search and I saw more.
18          Q.    Sir, do you know that you have a duty to
19   preserve potentially relevant documents like your
20   pay information in this case?
21          A.    I didn't, but I don't typically delete
22   that stuff.
23          Q.    Has anyone instructed you to preserve any
24   potentially relevant information?
25          A.    No.



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